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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

In re:                                   )
                                         )
11380 SMITH RD LLC                       )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                           )      Chapter 11
                                         )
Debtor.                                  )


MOVANT'S CERTIFICATE OF NON-CONTESTED MATTER WITH RESPECT TO THE
APPLICATION TO EMPLOY BROWN DUNNING WALKER PC, AS SPECIAL LITIGA-
TION COUNSEL AND FOR APPROVAL OF RETAINER AND REQUEST FOR ENTRY
OF ORDER


        On February 21, 2018, the Debtor-in-Possession, 11380 Smith Rd LLC (“Movant”),
filed a motion or application pursuant to L.B.R. 9013-1 entitled: Application to Employ
Brown Dunning Walker PC, as Special Litigation Counsel and for Approval of Retainer.
Movant hereby certifies that the following is true and correct:

       1.     Service of the motion/application, notice and proposed order were timely
made on all parties against whom relief is sought and those otherwise entitled to service
pursuant to the FED.R.BANKR.P. and the L.B.R. as is shown on the certificate of service,
L.B. Form 9013-1.2, previously filed with the motion/application on February 21, 2018.

       2.     Mailing or other service of the notice was timely made on all other creditors
and parties in interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted
by an order of the court, a copy of which is attached), as is shown on the certificate of
service, L.B. Form 9013-1.2, previously filed with the notice on February 21, 2018.

         3.   The docket numbers for each of the following relevant documents are:
              a.    the motion and all documents attached thereto and served therewith,
                    (Docket No. 24);
              b.    the certificate of service of the motion and all documents attached
                    thereto and served therewith, notice and proposed order, (Docket No.
                    24);
              c.    the notice, (Docket No. 25);
              d.    the certificate of service of the notice, (Docket No. 25);
              e.    the proposed order, (Docket No. 24); and

       4.    No objections to or requests for hearing on the motion/application were
received by the undersigned, or filed with the court and docketed in the case file by the
date designated in the notice.
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        WHEREFORE, Movant prays that the court forthwith enter an order, a form of which
is attached to Docket No. 24), granting the requested relief.

DATED: March 9, 2018

                                        Respectfully Submitted,

                                        WEINMAN & ASSOCIATES, P.C.



                                        By: /s/ Jeffrey A. Weinman
                                                Jeffrey A. Weinman, #7605
                                                730 17th Street, Suite 240
                                                Denver, CO 80202-3506
                                                Telephone: (303) 572-1010
                                                Facsimile: (303) 572-1011
                                                jweinman@weinmanpc.com




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